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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   4:05CR3143
                              )
          v.                  )
                              )
LISA McGINN,                  )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

to continue (Filing No. 47).        The Court notes defendant has no

objection thereto.      Accordingly,

          IT IS ORDERED that trial of this matter is rescheduled

for:

                Monday, August 7, 2006, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      A critical witness is unavailable;

defense counsel has a scheduled vacation; and less than ten days

have run on the speedy trial clock.          The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.             The additional time

between June 16, 2006, and August 7, 2006, shall be deemed
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excludable time in any computation of time under the requirement

of the Speedy Trial Act.     18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 16th day of June, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
